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                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )           4:03CR3079-1
                                         )
                  Plaintiff,             )
                                         )
      vs.                                )           MEMORANDUM
                                         )           AND ORDER
LAWRENCE VERNAIL ALLEN,                  )
                                         )
                  Defendant.             )

      At the request of the United States Marshal,

       IT IS ORDERED that Defendant Allen’s sentencing and show cause hearing
are rescheduled to Monday, December 12, 2005, at 4:30 p.m., before the undersigned
United States District Judge, in Courtroom No. 1, United States Courthouse and
Federal Building, 100 Centennial Mall North, Lincoln, Nebraska. Since this is a
criminal case, the defendant shall be present unless excused by the court.

      December 6, 2005.                      BY THE COURT:

                                             s/ Richard G. Kopf
                                             United States District Judge
